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UNITED STATES OF AMERICA,
Plaintiff,

vs. CR. NO. 05-20212-Ma
DAVID PATTERSON,
GLENN JONES,
WILLIE ROGERS,
HOWARD COVINGTON,

-._/-._r\-._/~_/~_,~.._,-._rvv\_/VV

Defendants.

 

ORDER ON CONTINUANCE AND SPECIFYING PERIOD OF EXCLUDABLE DELAI

 

This cause came on for a report date on. July 22, 2005.
Defense counsel requested a continuance of the present trial date
in order to allow for additional preparation in the case.

The Court granted the request and continued the trial to the
rotation docket beginning November 7, 2005 at 9:30 a.m., with a
report date of Friday, October 28, 2005 at 2:00 p.m.

The period from July 22, 2005 through November 18, 2005 is
excludable under 18 U.S.C. § 3l6l(h)(8)(B)(iv) because the
interests of justice in allowing additional time to prepare
outweigh the need for a speedy trial.

224

IT IS SO ORDERED this day of August, 2005.

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SAMUEL H. MAYS, JR.
UNITED STATES DISTRICT JUDGE

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This notice confirms a copy of the document docketed as number 54 in
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US DISTRICT COURT

